
CULPEPPER, Judge.
For the reasons assigned in the decision this date rendered by us in the companion case of Kalmn, Inc. v. Empiregas Corporation, et al., 406 So.2d 276, the judgment appealed in the present case is reversed and set aside insofar as it relieves the third party defendant, Anchor Gasoline Corporation, of liability. Judgment is now rendered in favor of third party plaintiffs and against third party defendant, Anchor Gasoline Corporation, in the amount of one-half of the damages awarded plaintiffs by the trial court in the principal action herein. In all other respects, the judgment appealed is affirmed. Costs of both the trial and appellate courts are assessed equally against defendants-appellants and third party defendant-appellee.
AFFIRMED IN PART, REVERSED IN PART.
